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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                           :
                                                   :
                v.                                 :
                                                   :       CRIM. NO. 18-193-1
DKYLE JAMAL BRIDGES                                :
KRISTIAN JONES                                     :
ANTHONY JONES                                      :

    GOVERNMENT’S POST-HEARING BRIEF IN FURTHER OPPOSITION TO
   DEFENDANT DKYLE JAMAL BRIDGES’ MOTION TO SUPPRESS PHYSICAL
                  EVIDENCE FROM FORD TAURUS

       As set forth in the Government’s prior filings, and at the suppression hearing on February

14-15, 2019, defendant Dkyle Jamal Bridges’ motion to suppress evidence from the Ford Taurus

(ECF No. 55) should be denied. The Government believes that the grounds for denying the

motion are already well established and need not be rehashed here.1

       For the foregoing reasons, the Court should deny the defendant’s motion and find such

evidence admissible.

                                                   Respectfully submitted,

                                                   WILLIAM M. McSWAIN
                                                   United States Attorney


                                                   s/ Jessica Urban
                                                   SETH M. SCHLESSINGER
                                                   Assistant United States Attorney
                                                   JESSICA URBAN
                                                   Trial Attorney
                                                   Child Exploitation & Obscenity Section
                                                   U.S. Department of Justice
Dated: February 28, 2019

       1
        The Government nonetheless reserves the right to file a response to Bridges’ post-trial
submission, as provided in the Court’s scheduling order.
                                                1
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 28, 2019, I filed this document electronically using the

CM/ECF system and thereby caused a copy of the same to be served on all counsel of record.


                                            s/ Jessica Urban
                                            JESSICA URBAN
                                            Trial Attorney
                                            Child Exploitation & Obscenity Section
                                            U.S. Department of Justice




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